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                               SO ORDERED: April 3, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                                            Chapter 11
    In re:
                                                            Case No. 18-9108-RLM-11
                           1
    USA GYMNASTICS,

                          Debtor.


                         ORDER SHORTENING NOTICE ON
              DEBTOR’S MOTION FOR CLARIFICATION OF BAR DATE ORDER

             This matter came before the Court on the Debtor’s Motion To Shorten Notice (the

“Motion”) on the Debtor’s Motion For Clarification Of Bar Date Order [Dkt. 374] (the “Bar

Date Clarification Motion”) filed by USA Gymnastics (the “Debtor”) for an order pursuant to


1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Rule 9006(c) of the Federal Rules of Bankruptcy Procedure, Rule 9006-1(a) of the Local Rules of

the United States Bankruptcy Court for the Southern District of Indiana (the “Local Rules”), and

section III.F of the case management procedures appended to the Order Granting Debtor’s Motion

For Order Establishing Certain Notice, Case Management, And Administrative Procedures

[Dkt. 213] (the “Case Management Procedures”); and the Court finds that (i) it has jurisdiction

over this matter pursuant to 28 U.S.C. 1334(b); (ii) this matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is in the best interests of

the Debtor, its estate, and creditors, and any party in interest; and after due deliberation, and good

and sufficient cause appearing therefore, the Court hereby determines the Motion should be

GRANTED.

       IT IS HEREBY ORDERED:

       1.      The Motion is granted.

       2.      The Debtor shall serve this Order and certify such service in accordance with the

Case Management Procedures and Local Rules 9006-1(d) and 9006-1(e).

       3.      A telephonic hearing on the Bar Date Clarification Motion will be held on

April 10, 2019 at 10:00 a.m. (prevailing Eastern time). A dial-in telephone number for

interested parties to participate in the hearing by conference call is 1-888-273-3658, passcode:

9247462#. All callers shall keep their phones muted unless addressing the Court. All callers must

identify themselves and the party(ies) they represent when addressing the Court. Callers shall not

place their phones on hold during the Hearing.

       4.      Any objections to the Bar Date Clarification Motion must be in writing and

filed with the Clerk’s Office and served, via the Court’s ECF system, by April 8, 2019 at 4:00

p.m. (prevailing Eastern time).



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       5.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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